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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 DESKTOP METAL, INC.,                   )
                                        )
           Plaintiff and Counterclaim   )                No. 1:18-cv-10524-WGY
           Defendant,                   )
                                        )
                   v.                   )
                                        )
 MARKFORGED, INC. and MATIU PARANGI, )
                                        )
           Defendants and Counterclaim  )
           Plaintiff (Markforged, Inc.) )
                                        )
                   v.                   )
                                        )
 RICARDO FULOP, JONAH MYERBERG, )
 BOSTON IMPACT LLC, and AMY BUNTEL, )
                                        )
           Third-Party Defendants.      )
                                        )




      DECLARATION OF CHARLES H. SANDERS IN SUPPORT OF PLAINTIFF AND
        COUNTERCLAIM DEFENDANT DESKTOP METAL INC.’S AND THIRD-
         PARTY DEFENDANT RICARDO FULOP’S MOTION FOR SUMMARY
          JUDGMENT ON DEFENDANT AND COUNTERCLAIM PLAINTIFF
               MARKFORGED INC.’S FIDUCIARY DUTY CLAIMS


       I, Charles H. Sanders, an attorney admitted to practice before the United States District

Court for the District of Massachusetts, declare under penalty of perjury, pursuant to 28 U.S.C. §

1746, as follows:

       1.      I am a member of the law firm of Latham & Watkins, 200 Clarendon Street,

Boston, Massachusetts, 02116, attorneys for Plaintiff and Counterclaim Defendant Desktop

Metal, Inc. (“Desktop Metal”) and Third-Party Defendant Mr. Ricardo Fulop, and a member




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in good standing of the bar of the State of Massachusetts.

       2.      I entered my Notice of Appearance for the above-captioned matter on March

19, 2018.

       3.      I submit this declaration in further support of Desktop Metal’s and Mr. Fulop’s

Motion for Summary Judgment on Defendant and Counterclaim Plaintiff Markforged, Inc.’s

(“Markforged”) fiduciary duty claims.

       4.      Attached hereto as Exhibit A is a true and correct copy of excerpts of the

transcript of Ric Fulop’s deposition on May 25, 2018.

       5.      Attached hereto as Exhibit B is a true and correct copy of a Desktop Metal’s

Investor Presentation from 2015, Bates Numbered DM_00768675 – DM_00768691.

       6.      Attached hereto as Exhibit C is a true and correct copy of an excerpt of

Markforged’s Unanimous Written Consent in Lieu of Meeting of Board Directors dated June

17, 2013, Bates Numbered FULOP_00000087 – FULOP_00000092.

       7.      Attached hereto as Exhibit D is a true and correct copy of excerpts of the

transcript of Greg Mark’s deposition on May 22, 2018.

       8.      Attached hereto as Exhibit E is a true and correct copy of an e-mail

communication from Ric Fulop to North Bridge Venture Partners dated June 4, 2013, Bates

Numbered NB00019730.

       9.      Attached hereto as Exhibit G is a true and correct copy of an e-mail

communication between Ric Fulop and Jan van Dokkum dated June 18, 2014, Bates

Numbered FULOP_00000250.

       10.     Attached hereto as Exhibit H is a true and correct copy of an e-mail

communication between Ric Fulop and Todd McSweeney dated June 20, 2014, Bates




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Numbered FULOP_00000251.

      11.     Attached hereto as Exhibit I is a true and correct copy of an e-mail

communication between Ric Fulop, Yet-Ming Chiang, Christopher A. Schuh, and Antonio

Rodriguez dated January 23 through January 26, 2014, Bates Numbered MF01027063 –

MF01027065.

      12.     Attached hereto as Exhibit J is a true and correct copy of a calendar invite from

Ric Fulop to Antonio Rodriguez and Yet-Ming Chiang dated August 5, 2014, Bates Numbered

NB00029282.

      13.     Attached hereto as Exhibit K is a true and correct copy of an e-mail

communication between Antonio Rodriguez and Andrew Verhalen dated August 15 through

August 20, 2014, Bates Numbered MATRIX00002967.

      14.     Attached hereto as Exhibit L is a true and correct copy of an e-mail

communication between Antonio Rodriguez and Alfonso Perez dated December 17, 2015,

Bates Numbered MATRIX00001310 – MATRIX00001311.

      15.     Attached hereto as Exhibit M is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated September 3 through September 4,

2015, Bates Numbered FULOP_00010152 – FULOP_00010153.

      16.     Attached hereto as Exhibit N is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated September 15 through September 17,

2015, Bates Numbered MF00017924 – MF00017928.

      17.     Attached hereto as Exhibit O is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated January 23, 2014, Bates Numbered

NB00002193.




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       18.    Attached hereto as Exhibit P is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated September 15, 2014, Bates

Numbered MF00020013 – MF00020014.

       19.    Attached hereto as Exhibit Q is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated January 21, 2015, Bates Numbered

MF01024989 – MF01024991.

       20.    Attached hereto as Exhibit R is a true and correct copy of an e-mail

communication from Greg Mark to Antonio Rodriguez dated February 21, 2015, Bates

Numbered MF00019121.

       21.    Attached hereto as Exhibit S is a true and correct copy of an e-mail

communication between Greg Mark and David Page dated September 30, 2015, Bates

Numbered MF00017600 – MF00017601.

       22.    Attached hereto as Exhibit T is a true and correct copy of an e-mail

communication between Greg Mark and Antonio Rodriguez dated October 28, 2016, Bates

Numbered MF00015577.

       23.    Attached hereto as Exhibit U is a true and correct copy of an e-mail

communication between Antonio Rodriguez and Stan Reiss dated September 10, 2015, Bates

Numbered MATRIX00006395.

       24.    Attached hereto as Exhibit V is a true and correct copy of an e-mail

communication from Mark Kesic to Greg Mark and Antonio Rodriguez dated February 17,

2015, Bates Numbered MATRIX00003705.

       25.    Attached hereto as Exhibit W is a true and correct copy of an e-mail

communication between Ric Fulop and Greg Mark dated April 8 through April 9, 2015, Bates




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Numbered MF00018865.

      26.    Attached hereto as Exhibit X is a true and correct copy of an e-mail

communication from Mark Kesic to Greg Mark and Antonio Rodriguez dated April 2, 2015,

Bates Numbered MF00018887.

      27.    Attached hereto as Exhibit Y is a true and correct copy of an e-mail

communication between Ric Fulop and Antonio Rodriguez dated April 10, 2015, Bates

Numbered FULOP_00000265.

      28.    Attached hereto as Exhibit Z is a true and correct copy of an e-mail

communication from Mark Kesic to Greg Mark, Clark Martin, and Jon Chin dated May 11,

2015, Bates Numbered MF01212276.

      29.    Attached hereto as Exhibit AA is a true and correct copy of an e-mail

communication between Rick Chin and Greg Mark dated June 17 through June 18, 2015,

Bates Numbered MF00018400 – MF00018401.

      30.    Attached hereto as Exhibit AB is a true and correct copy of an e-mail

communication between Ric Fulop, Rick Chin, and Johan Myerberg dated August 3 through

August 4, 2015, Bates Numbered NB00045541 – NB00045542.

      31.    Attached hereto as Exhibit AC is a true and correct copy of an e-mail

communication from Ric Fulop to Yet-Ming Chiang and Jonah Myerberg dated August 19,

2015, Bates Numbered MF01027077.

      32.    Attached hereto as Exhibit AD is a true and correct copy of an e-mail

communication between Mick Mountz, Ric Fulop, Matt Verminski, and Jonah Myerberg

dated September 11 through September 29, 2015, Bates Numbered FULOP_00017768 –

FULOP_00017770.




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       33.    Attached hereto as Exhibit AE is a true and correct copy of an e-mail

communication between Ric Fulop, Matt Verminski, Mick Mountz, and Thomas Casparis

dated October 22, 2015, Bates Numbered FULOP_00018187.

       34.    Attached hereto as Exhibit AF is a true and correct copy of an e-mail

communication between Mark Kesic and Greg Mark dated October 28, 2015, Bates Numbered

MF00017820 – MF00017822.

       35.    Attached hereto as Exhibit AG is a true and correct copy of excerpts of the

transcript of Yet-Ming Chiang’s deposition on May 29, 2018.

       36.    Attached hereto as Exhibit AH is a true and correct copy of an e-mail

communication between Greg Mark and Ric Fulop dated September 11 through September 14,

2014, Bates Numbered MATRIX_00005929.

       37.    Attached hereto as Exhibit AI is a true and correct copy of excerpts of the

transcript of John A. Hart’s deposition on May 25, 2018.

       38.    Attached hereto as Exhibit AJ is a true and correct copy of Desktop Metal’s

Certificate of Incorporation dated August 25, 2015, Bates Numbered DM_00769302 –

DM_00769308.

       39.    Attached hereto as Exhibit AK is a true and correct copy of Desktop Metal’s

Provisional Application No. 62/322,760, titled “Additive Manufacturing with MIM

Materials,” filed on April 14, 2016, Bates Numbered DM_00010173 – DM_000101277.



       I declare under penalty of perjury that the foregoing is true and correct. Executed this

5th day of September 2018 in Boston, Massachusetts.




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Dated: September 5, 2018                 Respectfully submitted,

                                         /s/ Charles H. Sanders
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                                  COUNTERCLAIM DEFENDANT
                                  DESKTOP METAL AND THIRD-PARTY
                                  DEFENDANT RICARDO FULOP




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                                 CERTIFICATE OF SERVICE

        I further certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on September 5,

2018.


                                                      /s/ Charles H. Sanders
                                                      Charles H. Sanders




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